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                                                                                              FILED



                UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF WYOMING                                                11:01 am, 1/7/25

                                                                                      Margaret Botkins
                                                                                       Clerk of Court
Westenbroek et al

                                     Plaintiff,

vs.                                               Case Number: 2:23-CV-00051-ABJ

Kappa Kappa Gamma Fraternity et al

                                  Defendant.

                      CIVIL MINUTE SHEET STATUS CONFERENCE
✔     Status Conference Only
Date: 01/07/2025      Time: 10:32am - 10:58am

       Alan B. Johnson         Becky Harris          Melanie Sonntag           Ani Zotti
            Judge                 Clerk                 Reporter               Law Clerk
Attorney(s) for Plaintiff(s)   John Knepper, Cassandra Craven

Attorney(s) for Defendant(s)   Natalie McLaughlin, Stuart Day, Brian Dressel
                               Rachel Berkness
Other:
Hearing held by Zoom video conference.
The Court heard from Mr. Knepper, Ms. McLaughlin and Ms. Berkness.
Further status to be set for 1/29/25 at 9:30 AM.
Related case (24-cv-267-ABJ) will also be noticed for the status conference.




WY 51                                                                               Rev. 11/22/2024
